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10   Attorneys for Defendant RAMON DESAGE
11
                                  UNITED STATES DISTRICT COURT
12
                                   FOR THE DISTRICT OF NEVADA
13
14   UNITED STATES OF AMERICA,               )
                                             )
15           Plaintiff,                      )
                                             )
16                   vs.                     )     Case No. 2:13-CR-00039-JAD-VCF
                                             )
17   RAMON DESAGE, ET AL.,                   )     STIPULATION TO CONTINUE
                                             )     SPECIFIC MOTION DEADLINES
18           Defendant.                      )     (First Request)
                                             )
19
20           IT IS HEREBY STIPULATED and agreed, by and between, RAMON DESAGE, Defendant,
21   by and through his counsel RICHARD B. HERMAN, ESQUIRE, and RICHARD A. WRIGHT,
22   ESQUIRE, and DANIEL G. BOGDEN, United States Attorney, by PATRICK BURNS and LISA
23   C. CARTIER GIROUX, Assistant United States Attorneys; and PETER AKARAGIAN, Defendant,
24   by and through his counsel ANTHONY P. SGRO, ESQUIRE; and GARY PARKINSON, Defendant,
25   by and through his counsel THOMAS F. PITARO, ESQUIRE;and WILLIAM RICHARDSON,
26   Movant, by and through his counsel DAVID Z. CHESNOFF, ESQUIRE, and RICHARD A.
27   SCHONFELD, ESQUIRE, as follows:
28   ///
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 1          Defendant Ramon Desage shall have to and including September 28, 2016, by the hour of
 2   4:00 p.m., within which to file his response in Opposition to the Government’s Appeal of
 3   Magistrate’s Order Granting Defendant Desage’s Motion for Discovery of Tax Returns (ECF No.
 4   182), and in Opposition to William Richardson’s Motion for Relief Under the Crime Victim Rights
 5   Act (18 U.S.C. 3771) (ECF No. 121) and Richardson’s Supplemental Brief (ECF No. 184).
 6          This Stipulation is entered into for the following reasons:
 7          1.      By Order dated August 5, 2016 (ECF No. 177), the Court gave the government until
 8   August 12, 2016, to file a “new, complete appeal . . .” of the Magistrate Judge’s Discovery Order.
 9   The government filed a new appeal on that date.
10          2.      Also on August 12, 2016, William Richardson, who had previously sought to
11   intervene as a crime victim, brought a motion seeking leave to file supplemental briefing (ECF No.
12   184.) The Court granted that motion (ECF No. 186), allowing Mr. Desage until August 29, 2016,
13   to file a response if he chooses, which Desage intends to do.
14          3.      The parties agree that Defendant Desage should have additional time of
15   approximately 30 days, until September 28, 2016, to file his response(s) to the new government
16   appeal and Mr. Richardson’s briefing. Both pleadings raise new matters which require additional
17   legal research and factual investigation and 14 days is insufficient for this.
18          4.      The parties further agree that the government and Mr. Richardson shall have seven
19   (7) days from the service of Mr. Desage’s response to file any reply briefs.
20          5.      Counsel have been engaged in ongoing negotiations toward a resolution of the case.
21   Counsel for Desage has had numerous meetings with Government counsel and anticipate that
22   negotiations may continue.
23          6.      Failure to grant this request for continuance would deny Defendants the opportunity
24   to properly present their case at trial and the opportunity to negotiate a resolution.
25          7.      Additionally, continuance of the current dates is appropriate in order to promote the
26   goals set forth under 18 U.S.C. § 3161(h)(7)(A), which provides that a court may grant a continuance
27   on the basis of finding that the “ends of justice” served by a continuance outweigh the best interest
28   of the public and the Defendant’s in a speedy trial.


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 1              8.    Additionally, denial of this request for continuance would result in a miscarriage of
 2   justice.
 3              9.    For all of the above stated reasons, the ends of justice would be best served by a
 4   continuance of the specific motions and response deadlines to September 28, 2016, with replies due
 5   a week later.
 6              DATED: August 26, 2016
 7   WRIGHT STANISH & WINCKLER                              DANIEL BOGDEN
                                                            United States Attorney
 8
 9   By /s/ Richard A. Wright                               By      /s/ Patrick Burns
       RICHARD A. WRIGHT, ESQUIRE                             PATRICK BURNS
10     300 S. Fourth Street                                   LISA C. CARTIER GIROUX
       Suite 701                                              Assistant U.S. Attorney’s
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12     Counsel for Defendant Desage                           Suite 1100
                                                              Las Vegas, NV 89101
13
     RICHARD B. HERMAN, P.C.                                CHESNOFF & SCHONFELD
14
15   By /s/ Richard B. Herman                               By     /s/ David Chesnoff
       RICHARD B. HERMAN, ESQUIRE                             DAVID CHESNOFF, ESQUIRE
16     445 Park Avenue                                        RICHARD A. SCHONFELD, ESQUIRE
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17     New York, New York 10022                               Las Vegas, NV 89101
18     Counsel for Defendant Desage                           Counsel for Victim William Richardson

19   PATTI, SGRO, LEWIS & ROGER                             PITARO & FUMO, CHTD.
20   By /s/ Anthony B. Sgro                                 By /s/ Thomas F. Pitaro
21     ANTNONY B. SGRO, ESQUIRE                               THOMAS F. PITARO, ESQUIRE
       720 S. Seventh Street                                  601 Las Vegas Boulevard South
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       Las Vegas, NV 89101                                    Attorney for Defendant Parkinson
23     Attorney for Defendant Akaragian
24
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 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3
 4   UNITED STATES OF AMERICA,                      )
                                                    )
 5           Plaintiff,                             )
 6                                                  )
              vs.                                   )       CASE NO. 2:13-CR-00039-JAD-VCF
 7   RAMON DESAGE, ET AL.,                          )
                                                    )
 8           Defendant.                             )
 9                                                  )

10
                    FINDINGS OF FACT, CONCLUSIONS OF LAW AND ORDER
11
12                                         FINDINGS OF FACT

13           Based upon the pending Stipulation of the parties and good cause appearing therefore, the
14   Court finds that:
15           1.      By Order dated August 5, 2016 (ECF No. 177), the Court gave the government until
16   August 12, 2016, to file a “new, complete appeal . . .” of the Magistrate Judge’s Discovery Order.
17   The government filed a new appeal on that date.
18           2.      Also on August 12, 2016, William Richardson, who had previously sought to
19   intervene as a crime victim, brought a motion seeking leave to file supplemental briefing (ECF No.
20   184.) The Court granted that motion (ECF No. 186) , allowing Mr. Desage until August 29, 2016,
21   to file a response if he chooses, which Desage intends to do.
22           3.      The parties agree that Defendant Desage should have additional time of
23   approximately 30 days, until September 28, 2016, to file his response(s) to the new government
24   appeal and Mr. Richardson’s briefing. Both pleadings raise new matters which require additional
25   legal research and factual investigation and 14 days is insufficient for this.
26           4.      The parties further agree that the government and Mr. Richardson shall have seven
27   (7) days from the service of Mr. Desage’s response to file any reply briefs.
28   ///


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 1              5.     Counsel have been engaged in ongoing negotiations toward a resolution of the case.
 2   Counsel for Desage has had numerous meetings with Government counsel and anticipate that
 3   negotiations may continue.
 4                                        CONCLUSIONS OF LAW
 5              1.     Failure to grant this request for continuance would deny Defendants the opportunity
 6   to properly present their case at trial and the opportunity to negotiate a resolution.
 7              2.     Additionally, continuance of the current dates is appropriate in order to promote the
 8   goals set forth under 18 U.S.C. § 3161(h)(7)(A), which provides that a court may grant a continuance
 9   on the basis of finding that the “ends of justice” served by a continuance outweigh the best interest
10   of the public and the Defendant’s in a speedy trial.
11              3      Additionally, denial of this request for continuance would result in a miscarriage of
12   justice.
13              4.     For all of the above stated reasons, the ends of justice would be best served by a
14   continuance of the specific motions and response deadlines to September 26, 2016, with replies due
15   a week later.
16                               *************************************
17                                                   ORDER
18              Based on the Stipulation between counsel, and the Government, and good cause appearing
19   therefore, the Court hereby orders that responses in Opposition to the Government’s Appeal of
20   Magistrate’s Order Granting Defendant Desage’s Motion for Discovery of Tax Returns (ECF No.
21   182) and William Richardson’s Motion for Relief Under the Crime Victim Rights Act (18 U.S.C.
22   3771) (ECF 121), and Supplement Brief Regarding Objection to Magistrate’s Order (ECF No. 184
23   and 184-2) shall be due on September 28, 2016, and that any replies shall be filed within seven (7)
24   days of service of the responses.
25         DATED:   August
            Dated this      30,day
                       ______   2016.
                                   of ____________________, 2016
26
27
                                                     JENNIFER A. DORSEY
28                                                   DISTRICT COURT JUDGE


                                                         5
